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                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY


          UNITED STATES OF AMERICA                                CR. NO.      10-00851 (DMe)



                       VS.                                        ORDER FOR INTERIM PAYMENT FOR
          THOMAS LEONARDIS                                        REPRESENT ATION OF COUNSEL
          SALVATORE LAGRASSO                                      PURSUANT TO THE CRIMINAL
          ANTHONY ALfANO                                          JUSTICE ACT 18:3006(A)
          TONINO COLANTONIO
          JOHN HARTMANN

             Because of the complexity of the case, the expected length of pretrial preparation, the length

          of the trial, and the anticipated hardship of counsel in undertaking representation full-time for

          such a period without compensation, in accordance with section 230.73.10 of the Guidelines for

          the Administration of the Criminal Justice Act, the following procedures for interim payments

          shall apply during the course of your representation in this case:




                                         1. SUBMISSION OF VOUCHERS

             Counsel shall submit to the Court Clerk, once each month, an interim CJA Form 20

          "Appointment orand Authority to Pay Court Appointed Counsel". Compensation earned and

          reimbursable expenses incurred from the first to the last day of each month shall be claimed on

          an interim voucher submitted no later than the fifth day of the following month, or in the first

          business day thereafter. The first interim voucher submitted shall reflect all compensation

          claimed and reimbursable expenses incurred from the date of appointment to May 1,

          2011       and shall be submitted no later than    Nay 15,        2011            ; thereafter, the

          vouchers shall be submitted once each month according 10 the schedule outlined above.


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     Each voucher shall be numbered in series in Box 22 and include the time period it covers in Box

     J 9.    All interim vouchers shall be supported by detailed and itemized time and expense

     statements. Chapter 2. Part C of the Guidelines for the Administration of the Criminal Justice

     Act outlines the procedures and nIles for claims by CJA attorneys and should be followed

     regarding each voucher.

            TIle Court will review the interim vouchers when submitted, particularly with regard to the

     amount of time claimed, and will alllhorize compensation to be paid tor tour-fifths (80'%) of the

     approved number of hours. The Court will also authorize payment for all reimbursable expenses

     reasonably inclined.

            At the conclusion of representation, counsel should submit a Ilnal voucher seeking payment of

     the one-fifth (20%) balance withheld from the earlier interim vouchers. The final voucher shall

     be labeled as such in Box 22 and shall set tonh in detail the time and expenses claimed for the

     entire case, including all appropriate documentation. After reviewing the tinal voucher, the

    Coun \",ill submit it to the ChiefJudge of the Circuit or his or her designee for review and

    approval.



                                       2. RETJVIBURSABLE EXPE~SES

        Counsel may be reimbursed tor out-of-pocket expenses reasonably incurred incident to

    representation. While the statute and applicable !1lles and regulations do not place a monetary

    limit on the amount of expenses that can be incurred, counsel should incur no single expense

    item in excess of$800 without PRIOR approvaJ of the Court. Such approval may be sought by

    submitting the CIA 21 to the Clerk with supporting documentation attached if deemed necessary,


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     stating the natme of the expense, the estimated dollar cost and the reason the expense is

     necessary to the representation. An application seeking such approval may be filed i!! camera, if

     necess3ry. Upon finding that the expense is 1,(~3sonable, the Court will authorize counsel to incur

     it. Recurring expenses, such as telephone calls, photocopying and photographs, which aggregate

    more than $800 on one or more interim vouchers are not considered single expenses requiring

    Court approval.

       With respect to travel outside of the ci ly-county-state for the purpose of consulting with the

    client or his or her fonner counsel, interviewing witnesses, etc., the $800 rule should be applied

    in the following manner. Travel expenses, such as, mileage, parking fees, meals and lodging, can

    be claimed as itemized expenses. Therefore, if the reimbursement for expenses relating to a

    single trip will aggregate an amount in excess of $800, the travel should receive PRIOR

    authorization of the Court. The following additional guidelines may be helpful:

       (a) Case rel3ted travel by pri\'ately owned automobile should be claimed per mile at the

    applicable rate (check with the Clerk's office for current rates) , plus parking fees, ferry fees, and

    bridge, road and l1lnnel tolls. Transportation other than by privately owned automobile should be

    claimed on an actual expense basis. If travel is authorized, arrangements can be made at

    Govell1ment rates through Omega World Travel. Please contact the C.J.A. administrator in the

    Clerk's office for additional gllidance. Air lI'avel in "first class" is prohibited.

       (b) Actual expenses incurred for meals and lodging while traveling during the course of

    representation must conform to the prevailing limitations placed upon travel and subsistence

    expenses of federal judiciary employees in accordance with existing government travel

    regulations. For specific details concerning high-cost areas, counsel should consult the Clerk.


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        (c) Telephone roll calls, telegrams, photocopying and photographs can all be reimbursable

     expenses if reasonably incurred. However, general office overhead, sllch as rent,

     secretarial help and telephone service, is not a reimbursable expense, nor are items of a personal

     nature. In addition, expenses for services ofsubpocllas on 1:'1ct witnesses are not reimbursable,

     but rather are governed by Rule 17 F.R.Crim.P. and 28 U.S.c.§ 1825.




                               3. FURTHER QUESTIONS OR GUIDANCE

        Answers to questions concerning services under the Criminal Justice Act, can generally be

     found in (I) 18 U.S.c. 3006(,1,,); (2) the Plan of the United States District COlin for the District of

     New Jersey; (3) Appendix I ro the Criminal Justiee !\cr Plan; and (4) Guidelines for the

     Administration of the Criminal Justice Act, published by the Administrative Office of the U.S.

     COLlnS. Should these references C'1i I to provide the desired clari fication or direction, counsel is

     directed to contact the Clerk's office, specifically, Anna Connelly, CJA Administrator at

     (609) 989-2:198 ill Trenron.




            ·~Y/llr
    DATE: ____ ~~
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                                                                  Dennis M. avanaugh
                                                 APPROVED          U.S. District Judge

    DATE:      4-1- JI                               --r::i?- r~
                                                     THOfvlAS 1. VANASKIE, JUDGE
                                                     UNTTED STATES COURT OF APPEALS
                                                     FOR THE THIRD CfRCUfT


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